         Case 1:20-cv-03443-AKH Document 38 Filed 11/02/20 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 REMI LABA,
                                                                   ORDER REGULATING
                     Plaintiff,                                    PROCEEDINGS
             V.
                                                                   20 Civ. 3443 (AKH)
 JBO WORLDWIDE SUPPLY PTY LTD, et al.,

                     Defendants.



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ALVIN K. HELLERSTEIN, U.S.D.J.:

                  Further to my order issued today, see ECF No. 37, Plaintiff shall serve Jonathan

E. Moskin of Foley & Lardner LLP, 90 Park Avenue, New York, NY 10016 on or before

November 18, 2020. As outlined in my previous Scheduling Order dated September 11 , 2020,

the deadline for completion of fact discovery (January 29, 2021) and the date of the next status

conference in this case (February 19, 2021, at 10:00 a.m.) remain in effect. See ECF No . 26.



SO ORDERED.

Dated:            November 2, 2020
                  New York, New York                           AL VIN K. HELLERSTEIN
                                                               United States District Judge
